222 F.3d 383 (7th Cir. 2000)
    Shawnee Trail Conservancy, Illinois Trail Riders,  Horsemen's Council of Illinois, Southern Illinois  Campground and Ranch Owners Association,  and Illinois Federation of Outdoor Resources, Plaintiffs-Appellants,v.United States Department of Agriculture,  United States Forest Service, Daniel Glickman,  Secretary of Agriculture, Michael P. Dombeck,  Chief, United States Forest Service, Robert T.  Jacobs, Regional Forester, Eastern Region  (R-IX), United States Forest Service,  and Louise Odegaard, Supervisor,  Shawnee National Forest, Defendants-Appellees.
    No. 99-3364
    In the  United States Court of Appeals  For the Seventh Circuit
    Argued March 29, 2000Decided July 25, 2000
    
      Appeal from the United States District Court for the Southern District of Illinois, Benton Division.  No. 98-CV-4248-JPG--J. Phil Gilbert, Chief Judge.[Copyrighted Material Omitted]
      Before Flaum, Ripple, and Kanne, Circuit Judges.
      Flaum, Circuit Judge.
    
    
      1
      The Shawnee Trail  Conservancy, the Illinois Trail Riders, the  Horsemen's Council of Illinois, the Southern  Illinois Campground and Ranch Owners Association,  and the Illinois Federation of Outdoor Resources  brought suit in federal district court under both  the United States Constitution and the  Administrative Procedure Act ("APA"), 5 U.S.C.  sec. 701 et seq., alleging that the defendants  lacked the constitutional and statutory authority  to designate certain areas of the Shawnee  National Forest (the "Shawnee") as Research  Natural Areas ("RNAs"). The district court  dismissed both of the plaintiffs' claims for lack  of subject matter jurisdiction, finding that the  plaintiffs' constitutional claim was an adverse  claim of title against the United States and  therefore had to be brought pursuant to the Quiet  Title Act of 1972 ("QTA" or the "Act"), 28 U.S.C.  sec. 2409a et seq., and that the plaintiffs  failed to exhaust their administrative remedies  for purposes of their APA claim. For the reasons  stated herein, we affirm the decision of the  district court.
    
    I.  Facts
    
      2
      The dispute in this case centers on the use of  the Shawnee National Forest, an area that  consists of approximately 265,135 acres in  southern Illinois. The Shawnee is managed by the  United States Forest Service according to a land  use and management plan required by statute.  According to the applicable regulations, the goal  of the land use and management plan is to  "maximize[ ] long term net public benefits in an  environmentally sound manner."
    
    
      3
      In November 1986, the Forest Service issued its  1986 Land and Resource Management Plan. Among  other things, the Plan proposed that twelve areas  in the Shawnee, including the Atwood Ridge area  and the Burke Branch area, be designated RNAs.  RNAs are areas of land within a National Forest  on which the Forest Service allows natural  conditions to prevail in order to promote  biological diversity, research and monitoring,  and education. The Chief of the Forest Service  followed the recommendations of the 1986 Plan and  established the Atwood Ridge RNA in September  1990 and the Burke Branch RNA in March 1991.
    
    
      4
      The Forest Service has designated a total of  eighty-one areas in the Shawnee as RNAs. In order  to protect these areas, mountain bikes, all-  terrain vehicles, and off-road motorcycles are  prohibited. In addition, equestrian use is  limited to designated trails. On January 31,  1997, the Forest Service took the additional step  of closing forty of the Shawnee's RNAs, including  the Atwood Ridge RNA and the Burke Branch RNA, to  all equestrian use.
    
    
      5
      In July 1998, the plaintiffs filed suit in  federal district court challenging the Forest  Service's decision to restrict access to the  Atwood Ridge and Burke Branch areas and its  decision to designate those areas as RNAs. The  district court dismissed the plaintiffs'  constitutional claim on the ground that it  challenged the United States' title to land and  consequently had to be brought under the QTA. The  district court also dismissed the plaintiffs' APA  claim, holding that they failed to exhaust their  administrative remedies. This appeal followed.
    
    II.  Analysis
    
      6
      We review de novo the district court's grant of  the defendants' motion to dismiss for lack of  subject matter jurisdiction. See Sapperstein v.  Hager, 188 F.3d 852, 855 (7th Cir. 1999). In  considering the defendants' motion to dismiss, we  "must accept as true all well-pleaded factual  allegations and draw reasonable inferences in  favor of the plaintiff[s]." Capital Leasing Co.  v. FDIC, 999 F.2d 188, 191 (7th Cir. 1993).
    
    A.  The Quiet Title Act
    
      7
      The plaintiffs' complaint alleged that the  Forest Service lacks the authority to restrict  the use of certain roads in the Atwood Ridge RNA  and the Burke Branch RNA. According to the  plaintiffs, these roads are subject to both  public and private easements and rights-of-way  that pre-date the creation of the Shawnee. The  plaintiffs contend that because these easements  and rights-of-way have been continually used and  have not been vacated or abandoned, the right to  control the use of the roads in the Atwood Ridge  RNA and the Burke Branch RNA are not held by the  Forest Service. In other words, the plaintiffs  contend that the Forest Service cannot restrict  the use of the roads in the Atwood Ridge and  Burke Branch areas because they do not own the  property rights necessary to make decisions  concerning their incidents of use.
    
    
      8
      The district court did not reach the  plaintiffs' constitutional claim on the merits,  but rather concluded that it did not have subject  matter jurisdiction over this claim because the  plaintiffs' argument represented a clear  challenge to the United States' ownership of the  land in question. According to the district  court, all such challenges must be brought  pursuant to the QTA. Because the plaintiffs did  not bring their claim under the QTA, but rather  under the Constitution, the district court held  that it could not consider the issue of title to  the land. The district court further found  unpersuasive the plaintiffs' attempt to structure  their claim as a constitutional challenge to the  federal government's regulatory authority, and  not to its title. On appeal, the plaintiffs  contend that this decision was erroneous and that  the district court properly had subject matter  jurisdiction over their constitutional challenge  to the restrictions imposed by the Forest  Service.
    
    
      9
      The QTA operates as a limited waiver of  sovereign immunity in cases where a party seeks  to adjudicate a title dispute to real property in  which the United States claims an interest.  Specifically, the Act provides that "The United  States may be named as a party defendant in a  civil action under this section to adjudicate a  disputed title to real property in which the  United States claims an interest, other than a  security interest or water rights." 28 U.S.C.  sec. 2409a(a). In its decisions interpreting the  QTA, the Supreme Court has made clear that,  through its adoption of the Act, "Congress  intended . . . to provide the exclusive means by  which adverse claimants could challenge the  United States' title to real property." Block v.  North Dakota, 461 U.S. 273, 286 (1983) (emphasis  added). While the plaintiffs concede that the QTA  is the exclusive vehicle for suits challenging  the United States' title to real property in  certain contexts, they contend that this  exclusivity principle does not apply when the  party bringing the suit is not an adverse  claimant.
    
    
      10
      The plaintiffs contend that the "adverse  claimants" language in the Supreme Court's Block  opinion is an important limitation on the  exclusivity of the QTA. The plaintiffs admit that  the Act is the exclusive means by which a party  claiming a property interest in land in which the  United States also maintains an interest may  challenge the United States' assertion of title.  However, the plaintiffs argue that the QTA does  not limit their ability to challenge the United  States' regulatory authority by bringing suit  pursuant to other statutes or the Constitution as  long as they do not seek to quiet title in  themselves. Under this theory, because the  plaintiffs do not claim that they own the  easements or rights-of-way over the roads in the  Atwood Ridge RNA and the Burke Branch RNA, the  plaintiffs' suit need not be brought pursuant to  the QTA.
    
    
      11
      In support of this argument, the plaintiffs do  not cite any case law specifically limiting the  exclusivity of the QTA to suits in which the  plaintiffs seek to quiet title in themselves.  Instead, they rely on cases that have entertained  challenges to the regulatory authority of the  United States without addressing the QTA. See,  e.g., Wilkensen v. Department of the Int., 634  F.Supp. 1265 (D. Colo. 1986); Stupak-Thrall v.  Glickman, 988 F.Supp. 1055 (W.D. Mich. 1997).  Although we recognize that these cases resolved  title disputes similar to the one around which  this case centers without reference to the QTA,  it is significant that those cases give no  indication that the QTA was ever raised as an  issue. In circumstances where a court assumes  jurisdiction without addressing a jurisdictional  issue, that assumption of jurisdiction is of  limited precedential value. See United States v.  L.A. Tucker Truck Lines, Inc., 344 U.S. 33, 38  (1952) ("[T]his Court is not bound by a prior  exercise of jurisdiction in a case where it was  not questioned and it was passed sub silento.").
    
    
      12
      Because we find the precedent cited by the  plaintiffs to be of little value, the merits of  their argument turn on the persuasiveness of  their definition of "adverse claimants."  According to the plaintiffs, the plain meaning of  "adverse claimants" does not include parties who,  although challenging the federal government's  right to regulate land, do not attempt to quiet  title in themselves. Although we agree that the  interpretation offered by the plaintiffs is a  plausible one, we do not believe that the  language of the Supreme Court's opinion in Block  is as clear as the plaintiffs contend. It is true  that the plaintiffs do not assert that they own  the land, and in that sense they are not making  a claim to title on behalf of themselves that is  adverse to the government's asserted interest.  However, the plaintiffs do claim that certain  third parties own the land, and not the  government, and this in itself represents an  assertion of title that runs adverse to the  government. In these circumstances, the plain  meaning of the phrase "adverse claimants" does  not adequately answer the question before us.
    
    
      13
      In considering this very issue, the Ninth  Circuit rejected the argument made by the  plaintiffs and held that the QTA applies any time  a party seeks a title determination regarding  real property in which the United States asserts  an interest. See Metropolitan Water Dist. v.  United States, 830 F.2d 139, 143-44 (9th Cir.  1987) (per curiam), aff'd sub nom. California v.  United States, 490 U.S. 920 (1989). In that case,  the Metropolitan Water District sought to prevent  an Indian tribe from gaining additional water  rights as the result of an expansion in the  tribe's reservation boundaries. See id. at 141.  Although recognizing that the water district was  "not seeking to quiet title in itself," the court  held that the QTA applied because the water  district "s[ought] a determination of the  boundaries of the Reservation" and "[t]he effect  of a successful challenge would be to quiet title  in others than the Tribe." Id. at 143. In a later  opinion, the Ninth Circuit noted that  "Metropolitan Water District expanded the  application of the QTA to govern suits involving  plaintiffs who, while not seeking to quiet title  in themselves, might potentially affect the  property rights of others through successfully  litigating their claims." Alaska v. Babbitt, 38  F.3d 1068, 1074 (9th Cir. 1994).
    
    
      14
      Although no other court has considered the  issue presented to us in as direct a fashion as  the Ninth Circuit, several courts have indicated  that the Ninth Circuit's broad reading of the  exclusivity of the QTA is correct. In a suit for  money damages based on an allegedly invalid  government sale of land, the Supreme Court  rejected the plaintiff's attempts to avoid the  QTA on the ground that resolution of the case  entailed determining who held valid title to the  land in question. See United States v. Mottaz,  476 U.S. 834, 841-43 (1986) (noting that "the  claim for title is the essence and bottom line of  respondent's case"). Similarly, in cases where  the QTA is raised as a jurisdictional issue,  other federal courts consistently apply the QTA  in circumstances where parties do not seek to  quiet title in themselves. See Rosette, Inc. v.  United States, 141 F.3d 1394, 1397 (10th Cir.  1998) (dismissing a declaratory judgment action  brought outside the QTA because the plaintiff's  claims were "all linked to the question of  title"); Nevada v. United States, 731 F.2d 633,  636 (9th Cir. 1984) (applying the QTA to a  Property Clause claim where, in order to succeed,  the plaintiff "would have to show that the United  States lacked title" to the property in dispute);  Hat Ranch, Inc. v. Babbitt, 932 F.Supp. 1, 3  (D.D.C. 1995), aff'd sub nom. Hat Ranch, Inc. v.  United States, 102 F.3d 1272 (D.C. Cir. 1996)  (refusing to consider declaratory judgment action  where "[t]he authority to levy grazing fees  depends upon ownership of the land" and where  "[i]n order to decide who is entitled to assess  and collect grazing fees, th[e] Court would be  required to decide who owns the [disputed  lands]"); Town of Beverly Shores v. Lujan, 736  F.Supp. 934, 944 (N.D. Ind. 1989) (dismissing an  APA claim for lack of subject matter jurisdiction  because "an action pursuant to the APA . . . is  not the proper method for determining competing  claims to real property to which the United  States of America claims interest"). It thus  appears that the majority of courts that have  considered the QTA in the context of claims that  do not seek to quiet title in the party bringing  the action have nonetheless found the Act  applicable, and we find the reasoning of these  cases persuasive.
    
    
      15
      In adopting the QTA, Congress waived the United  States' sovereign immunity to suits challenging  the United States' title to land. See Lombard v.  United States, 194 F.3d 305, 308 (1st Cir. 1999).  However, this waiver of sovereign immunity is  limited, most importantly by the Acts' twelve  year statute of limitations on title claims, 28  U.S.C. sec. 2409a(g), and by the preservation of  immunity in cases where the United States claims  an interest in land as trust or restricted Indian  land, 28 U.S.C. sec. 2409a(a). To allow claimants  to avoid the QTA by characterizing their  complaint as a challenge to the federal  government's regulatory authority would be to  allow parties to seek a legal determination of  disputed title without being subject to the  limitations placed on such challenges. See  Rosette, 141 F.3d at 1397 (stating that allowing  a declaratory judgment action "would render the  Quiet Title Act's statute of limitations  meaningless"); Nevada, 731 F.2d at 636 (arguing  that to allow a Property Clause challenge outside  the QTA "would be to render [that Act's] statute  of limitations meaningless"). "'It would require  the suspension of disbelief to ascribe to  Congress the design to allow its careful and  thorough remedial scheme to be circumvented by  artful pleading.'" Block, 461 U.S. at 285  (quoting Brown v. GSA, 425 U.S. 820, 833 (1976)).  Because we believe that Congress intended for  suits that require resolution of a disputed claim  to real property in which the United States  claims an interest to be brought under the QTA,  we hold that the district court properly  dismissed the plaintiffs' constitutional  challenge for lack of subject matter  jurisdiction.
    
    B.  The Administrative Procedure Act
    
      16
      The plaintiffs next contend that the Forest  Service violated the APA in acting arbitrarily,  capriciously, and not in accordance with the law  when it designated the Atwood Ridge and Burke  Branch areas of the Shawnee as RNAs. The district  court dismissed this APA claim for lack of  subject matter jurisdiction, finding that the  plaintiffs failed to exhaust their administrative  remedies before filing suit in federal district  court. The plaintiffs appeal this holding,  arguing that the district court erred when it  refused to excuse the plaintiffs' failure to  exhaust their administrative remedies because,  according to the plaintiffs, pursuing those  administrative remedies would have been futile.
    
    
      17
      The requirement of administrative exhaustion is  a traditional common law doctrine that has now  been codified in section 10(c) of the APA, 5  U.S.C. sec. 704. Although section 10(c) only  permits review of agency actions that are  "final," any definitive agency decision is  considered "final," and therefore reviewable,  unless the agency's regulations require  exhaustion as a prerequisite to judicial review.  See Darby v. Cisneros, 509 U.S. 137, 153 (1993).  In this case, the relevant Forest Service  regulation provides that "any filing for Federal  judicial review of a decision subject to review  under this part is premature and inappropriate  unless the plaintiff has first sought to invoke  and exhaust the procedures available under this  part." 36 C.F.R. sec. 217.18. Because the Forest  Service regulations explicitly require exhaustion  as a prerequisite to judicial review, and because  the plaintiffs in this case did not pursue the  available administrative appeals to the  challenged RNA designations, the district court  was correct in applying an administrative  exhaustion requirement to the plaintiffs' APA  claim. See Glisson v. United States Forest  Service, 55 F.3d 1325, 1328 (7th Cir. 1995)  (applying the administrative exhaustion  requirement of the APA in circumstances where  Forest Service regulations require such  exhaustion).
    
    
      18
      The plaintiffs do not challenge the conclusion  that an administrative exhaustion requirement  could apply to their case, but rather contend  that this requirement should have been waived  because any administrative appeal would have been  futile. See, e.g., McCarthy v. Madigan, 503 U.S.  140, 146-49 (1992) (discussing waiver of the  exhaustion requirement in circumstances where an  appeal is futile); Wilczynski v. Lumbermens  Mutual Casualty Co., 93 F.3d 397, 402 (7th Cir.  1996) (recognizing the futility exception to  administrative exhaustion). According to the  plaintiffs, the United States Department of  Agriculture and the Forest Service were bound by  the terms of a 1988 settlement agreement with  various environmental groups that precluded them  from re-opening roads in the Burke Branch and  Atwood Ridge areas. The plaintiffs argue that  because the defendants are prohibited by a pre-  existing settlement agreement from changing the  RNA designations that the plaintiffs now  challenge, any appeal to the Forest Service  seeking to alter those designations would have  been futile.
    
    
      19
      Although we do not believe that the district  court had the power to waive the statutorily-  mandated exhaustion requirement of the APA, see  Glisson, 55 F.3d at 1327 (contrasting the  flexible common law doctrine of administrative  exhaustion with the "inflexible command of a  statute"), the plaintiffs have not demonstrated  that the district court erred in applying  administrative exhaustion even if we assume  arguendo that the district court had the  discretion to excuse that failure on the ground  of futility. "In order to come under the futility  exception, the [plaintiffs] must show that it is  certain that their claim will be denied on  appeal, not merely that they doubt an appeal will  result in a different decision." Smith v. Blue  Cross &amp; Blue Shield United of Wisc., 959 F.2d  655, 659 (7th Cir. 1992). Furthermore, "the  decision to require exhaustion as a prerequisite  to bringing suit is a matter within the  discretion of the trial court and may be  disturbed on appeal only when there has been a  clear abuse of discretion." Powell v. AT&amp;T Comm.,  Inc., 938 F.2d 823, 825 (7th Cir. 1991).
    
    
      20
      After a review of the record, we conclude that  the district court did not abuse its discretion  in requiring the plaintiffs to exhaust their  administrative appeals. While it is true that the  1988 settlement agreement does not appear to  allow the Forest Service to re-open roads in the  Burke Branch and Atwood Ridge areas, the  agreement does not give any party the right to  compel the Forest Service's compliance with that  obligation. It is possible that had the  plaintiffs pursued the available avenues for  administrative relief, the Forest Service would  have altered its decision to designate the Burke  Branch and Atwood Ridge areas as RNAs and would  have re-opened the closed roads in those areas.  The result of such an action would have been a  possible breach of the 1988 settlement agreement  and a consequent nullification of that agreement,  but the plaintiffs would have received the relief  that they sought. In this case the Forest  Service's 1988 settlement agreement presents an  obstacle to the administrative actions requested  by the plaintiffs, but it does not render the  defendants powerless to grant the plaintiffs'  request. Under these circumstances, we cannot  conclude that the district court erred in  refusing to apply the futility exception to  excuse the plaintiffs' failure to exhaust their  administrative remedies.
    
    III.  Conclusion
    
      21
      The district court correctly dismissed the  plaintiffs' QTA and APA claims for lack of  subject matter jurisdiction. We accordingly AFFIRM  the decision of the district court.
    
    